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                                             Counsel for Defendant Apple Inc.
15

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17                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
18                                     OAKLAND DIVISION

19
     SAURIKIT, LLC,                               CASE NO. 4:20-cv-08733-YGR
20
                   Plaintiff,                     ORDER GRANTING STIPULATION
21                                                BETWEEN SAURIKIT, LLC AND APPLE
            v.                                    INC. AND [PROPOSED] DISCOVERY
22                                                PLAN
     APPLE INC., a California Corporation,
23                                                The Honorable Yvonne Gonzalez Rogers
                   Defendant.
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28
                 STIPULATION BETWEEN SAURIKIT, LLC AND APPLE INC. AND
                              [PROPOSED] DISCOVERY PLAN
                                CASE NO. 4:20-cv-08733-YGR
1                    WHEREAS, on February 4, 2021, Defendant Apple Inc. (“Apple”) filed a motion

2    to dismiss Plaintiff, SaurikIT, LLC’s (“Cydia”) Complaint, ECF No. 35 (Apple and Cydia

3    collectively, the “Parties”);

4                    WHEREAS, on March 22, 2021, the Parties submitted a Joint Case Management

5    Statement (the “Joint Statement”);

6                    WHEREAS, in the Joint Statement, the Parties agreed to “engage in reasonable

7    efforts to coordinate discovery including stipulating to the Court’s Order Regarding

8    Coordination of Discovery in In re Apple iPhone Litigation, No. 4:19-cv-03074-YGR, ECF No.

9    80 (N.D. Cal. Jan. 2, 2020) (the “Coordination Order”)” and agreed that the Parties “should seek

10   to achieve the maximum coordination of document and other discovery among the related cases

11   where reasonably practical”;

12                   WHEREAS, in the Joint Statement, the Parties disagreed about the scope of

13   discovery pending Apple’s motion to dismiss filed on February 4, 2021, ECF No. 35;

14                   WHEREAS, in an Order dated March 24, 2021, ECF No. 45, the Court ordered

15   the Parties to meet and confer on the scope of discovery pending resolution on the motion to

16   dismiss;

17                   WHEREAS, the Parties met and conferred on the scope of discovery pending the

18   motion to dismiss on April 13 and 30, 2021, as well as through email correspondence, and have

19   reached agreement on the scope of discovery pending Apple’s motion to dismiss and a discovery

20   plan with respect to depositions previously taken in the Epic Games, Inc. v. Apple Inc., No. 4:20-

21   CV-05640-YGR-TSH (N.D. Cal.); In re Apple iPhone Antitrust Litig., No. 4:11-CV-06714-

22   YGR-TSH (N.D. Cal.); and Cameron v. Apple Inc., No. 4:19-CV-03074-YGR-TSH (N.D. Cal.)

23   (the “Related Actions”);

24                   THEREFORE, the Parties, by and through their respective counsel, hereby agree

25   and stipulate, subject to the approval of the Court, the following:

26           1.      The Parties agree that, where reasonably practical, the terms of the Coordination

27   Order shall apply to this action. The terms of this stipulation reflect the Parties’ current

28   understanding of where and how the Coordination Order applies in this action. To the extent

                  STIPULATION BETWEEN SAURIKIT, LLC AND APPLE INC. AND
                               [PROPOSED] DISCOVERY PLAN
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1    future disputes, if any, arise regarding the scope of that application, the Parties shall meet and

2    confer in good faith to attempt to resolve any differences and, barring resolution through that

3    process, submit any disputes to the Court for resolution.

4             2.     Apple will reproduce its productions from the Related Actions to Cydia as soon as

5    reasonably practicable.

6             3.     Apple will produce its responses and objections to interrogatories and requests for

7    admissions from the Related Actions to Cydia as soon as reasonably practicable.

8             4.     Apple will produce its expert reports from the Related Actions to Cydia as soon as

9    reasonably practicable, to the extent that they do not contain information produced by parties

10   other than Apple or non-parties that are subject to protective orders. In the event that Apple

11   believes in good faith the expert reports contain such protected information, Apple shall redact

12   that information before producing the expert reports to Cydia. In the alternative, if Cydia obtains

13   permission from the parties whose information Apple in good faith believes is contained in a

14   relevant expert report and protected from production or if this or any other Court order permits

15   reproduction of such information to Cydia, Apple shall produce the unredacted expert report to

16   Cydia.

17            5.     Apple will produce the following sealed filings to Cydia as soon as reasonably

18   practicable, to the extent that they do not contain information produced by parties other than

19   Apple or non-parties that are subject to protective orders:

20                      a. In re Apple iPhone Antitrust Litig., No. 4:11-cv-06714-YGR, Dkt. Nos.

21                          42, 59.

22                      b. Epic Games, Inc. v. Apple Inc., No. 4:20-cv-05640-YGR, Dkt. Nos. 406-4,

23                          408-4.

24   In the event that Apple believes in good faith the sealed filings contain such protected

25   information, Apple shall redact that information before producing the sealed filings to Cydia. In

26   the alternative, if Cydia obtains permission from the parties whose information Apple in good

27   faith believes is contained in a relevant sealed filing and protected from production or if this or

28   any other Court order permits reproduction of such information to Cydia, Apple shall produce

                   STIPULATION BETWEEN SAURIKIT, LLC AND APPLE INC. AND
                                [PROPOSED] DISCOVERY PLAN
                                  CASE NO. 4:20-cv-08733-YGR
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1    the unredacted sealed filing to Cydia.

2           6.      Apple will produce the deposition transcripts and exhibits of Apple witnesses

3    deposed in the Related Actions to Cydia as soon as reasonably practicable.

4           7.      Apple will produce the 30(b)(6) notices served on Apple in the Related Actions to

5    Cydia as soon as reasonably practicable.

6           8.      Cydia agrees that prior to noticing any Apple witness who has previously been

7    deposed in the Related Actions, it will provide Apple a good faith explanation of why Cydia

8    believes it needs additional deposition time with that witness (such as, for example, by

9    identifying additional topics or additional information to which Cydia believes the witness can

10   testify, or by explaining why Cydia believes previous depositions did not fully and/or adequately

11   explore topics relevant to Cydia’s claims), and how much time it requests.

12          9.      If the Parties cannot resolve any disputes about whether Cydia’s good faith

13   explanation justifies additional deposition time with an Apple witness who has been previously

14   deposed in the Related Actions, limitations on the scope of questioning based on Cydia’s good

15   faith explanation, or the amount of additional time Cydia has requested, the Parties shall follow

16   Magistrate Judge Thomas Hixson’s Discovery Standing Order.

17          10.     All other discovery will be held in abeyance pending a decision on Apple’s

18   motion to dismiss.

19                  IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

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21   DATED: May 5, 2021                       By /s/ Adam B. Wolfson
                                               QUINN EMANUEL URQUHART &
22
                                                 SULLIVAN, LLP
23                                             Stephen A. Swedlow (pro hac vice)
                                               David A. Nelson (pro hac vice)
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                               [PROPOSED] DISCOVERY PLAN
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2
                                      Counsel for Plaintiff SaurikIT, LLC
3

4    DATED: May 5, 2021             By /s/ Karen L. Dunn
                                      PAUL, WEISS, RIFKIND, WHARTON &
5                                       GARRISON LLP
                                      Karen L. Dunn (DC SBN 1002520; pro hac vice)
6                                     William A. Isaacson (DC SBN 414788; pro hac vice)
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19

20                                    Counsel for Defendant Apple Inc.

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24   PURSUANT TO STIPULATION, IT IS SO ORDERED.

25
              June 24, 2021
26   DATED: _____________________        ________________________________________
                                               YVONNE GONZALEZ ROGERS
27                                            UNITED STATES DISTRICT JUDGE
28
              STIPULATION BETWEEN SAURIKIT, LLC AND APPLE INC. AND
                           [PROPOSED] DISCOVERY PLAN
                             CASE NO. 4:20-cv-08733-YGR
                                          5
1                          DECLARATION REGARDING CONCURRENCE

2                    I, Adam Wolfson, am the ECF user whose identification and password are being

3    used to file this STIPULATION BETWEEN SAURIKIT, LLC AND APPLE INC. AND

4    [PROPOSED] DISCOVERY PLAN. In compliance with Civil Local Rule 5-1(i)(3), I hereby

5    attest that all of the signatories listed above have concurred in this filing.

6

7
      Dated: May 5, 2021                                 QUINN, EMANUEL, URQUHART &
8                                                        SULLIVAN, LLP

9                                                          By: /s/ Adam B. Wolfson
                                                              Adam B. Wolfson
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                 STIPULATION BETWEEN SAURIKIT, LLC AND APPLE INC. AND
                              [PROPOSED] DISCOVERY PLAN
                                CASE NO. 4:20-cv-08733-YGR
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